             Case 1:19-cr-00225-RBW Document 91 Filed 03/15/24 Page 1 of 2




                                    UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF COLUMBIA

UNITED STATES                                          :                 19 CR. 225 (RBW)

v.                                                     :

AHMED KHIDIR EL KHEBKI                                 :

Defendant.                                             :

                                       UNOPPOSED MOTION TO
                                     CONTINUE SENTENCING DATE

           Defendant Ahmed El Khebki respectfully moves this Court to continue the sentencing

date in this case, currently scheduled for March 21, 2024, for approximately two weeks, to April

2, 2024, at 2:00 p.m., a date which chambers indicated is consistent with the Court’s schedule.

The defense is requesting the additional time because undersigned’s recent work schedule (which

included two jury trials in the United States District Court for the District of Columbia since

January 24, 2024) did not permit the defense sufficient time to professionally prepare for the

upcoming sentencing. Among the tasks that undersigned counsel was not able to complete, was

locating and effecting service of process on one of the co-conspirators in this case, Wael Seik.

           The Government does not oppose the requested continuance. 1




1
    The Government asked undersigned to advise the Court that:

           the government does not oppose the motion to continue the hearing until April 2, 2024, but wishes the
           Court to be aware that the primary reason for the continuance is to provide Mr. El Khebki with additional
           time to locate and serve Mr. Sedik, and that if the defense successfully serves Mr. Sedik, the government
           believes that Mr. Sedik, who is not currently represented by counsel, needs court-appointed counsel to
           represent him at the sentencing hearing. This belief extends to any other witnesses who were part of the
           embezzlement scheme or may have criminal exposure and who Mr. El Khebki intends to call at the
           sentencing hearing.




                                                           1
         Case 1:19-cr-00225-RBW Document 91 Filed 03/15/24 Page 2 of 2




       An appropriate Proposed Order is attached hereto for the Court’s consideration.


                                                   Respectfully submitted,

                                                   Robert Feitel

                                                   _____________________________
                                                   Robert Feitel, Esquire
                                                   Law Office of Robert Feitel
                                                   1300 Pennsylvania Avenue, N.W.
                                                   #190-515
                                                   Washington, D.C. 20008
                                                   D.C. Bar No. 366673
                                                   202-450-6133 (office)
                                                   202-255-6637 (cellular)
                                                   RF@RFeitelLaw.com




                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was sent via ECF, to, MLARS Trial
Attorneys Shai Bronthtein and Jonathan Baum, United States Department of Justice, 1400 New
York Avenue, N.W.. Washington, D.C. this 15th day of March, 2024.



                                            Robert Feitel

                                            ___________________________
                                            Robert Feitel




                                               2
